






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-11-00433-CV






Kwangyoul Paek and HN Global, LLC, Appellants


v.


SSR E&amp;C, Inc.; Kyung Baik Jo, SSR Mfg. Corp.; and SSR Tech. Corp., Appellees






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 353RD JUDICIAL DISTRICT

NO. D-1-GN-10-004444, HONORABLE ORLINDA NARANJO, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		Appellants Kwangyoul Paek and HN Global, LLC have notified this Court that the
parties have resolved and settled all issues made the basis of this appeal.  Appellants have filed a
motion to dismiss their appeal and certify that they have conferred with counsel for appellees and
that appellees do not oppose this motion.  We grant the motion and dismiss the appeal.  See Tex. R.
App. P. 42.1(a)(1).


						_____________________________________________

						J. Woodfin Jones, Chief Justice

Before Chief Justice Jones, Justices Pemberton and Henson

Dismissed on Appellants' Motion

Filed:   August 25, 2011


